                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

LIFEBRITE HOSPITAL GROUP OF
STOKES, LLC,

       Plaintiff,

v.
                                              Civil Action No: 1:18-cv-336
AETNA HEALTH INC. and AETNA
HEALTH OF THE CAROLINAS, INC.,

       Defendants.


            DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION

       Defendants Aetna Health Inc. and Aetna Health of the Carolinas, Inc.

(“Defendants”) file this Notice of Removal of Civil Action brought by LifeBrite Hospital

Group of Stokes, LLC (“Plaintiff”). The grounds in support of this Notice of Removal are

as follows:

       1.      Plaintiff filed its Complaint against Defendants on March 21, 2018, in the

General Court of Justice, Superior Court Division, Stokes County, North Carolina, under

Case Number 18-CVS-207 (the “State Court Action”). A true and correct copy of the

Complaint is attached as Exhibit 1.

       2.      Defendants were served with or otherwise received a copy of the Complaint

on March 29, 2018. A true and correct copy of the citation received by Defendants is

attached as Exhibit 2.




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        3.     The State Court Action may be removed to this Court because the

Complaint raises a claim that is necessarily federal in character under ERISA, 1 which

completely preempts Plaintiff’s state law claims.

        4.     “Under the removal statute, ‘any civil action brought in a State court of

which the district courts of the United States have original jurisdiction, may be removed

by the defendant’ to federal court.” 2 “District courts have original jurisdiction over claims

‘arising under the Constitution, laws, or treaties of the United States.’” 3

        5.     “To determine whether a plaintiff’s claims ‘arise under’ the laws of the

United States, courts typically use the ‘well-pleaded complaint rule,’ which focuses on

the allegations of the complaint.” 4 “An exception to the well-pleaded complaint rule

occurs when a federal statute completely preempts state law causes of action.” 5

        6.     The Fourth Circuit Court of Appeals has outlined a three-prong test for

complete preemption:

        (1) the plaintiff must have standing under § 502(a) to pursue its claim;

        (2) the claim must come within the scope of an ERISA provision that can
        be enforced via § 502(a); and




   1
         Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1001-
1461.
   2
         Prince v. Sears Holdings Corp., 848 F.3d 173, 177 (4th Cir. 2017) (quoting Aetna
Health Inc. v. Davila, 542 U.S. 200, 207 (2004)); see also 28 U.S.C. § 1441(a).
   3
         Id. (citing 28 U.S.C. § 1331).
   4
         Id. (citing Davila, 542 U.S. at 207).
   5
         Id. at 207-08.


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          (3) the claim must not be capable of resolution without an interpretation of
          the contract governed by federal law, i.e., an ERISA-governed employee
          benefit plan. 6

          7.    First, courts within the Fourth Circuit have held that healthcare providers

may acquire derivative standing under ERISA by obtaining an assignment of the

participant or beneficiary’s right to payment of medical benefits. 7 As an assignee of its

patients’ rights to medical benefits under the ERISA plans, Plaintiff could have brought

its complaints about Defendants’ coverage determinations under the civil enforcement

provisions of ERISA.

          8.    Second, “[a] claim falls within the scope of § 502(a) if it seeks, among

other things, the recovery of benefits under an ERISA Plan.” 8 “The United States

Supreme Court and the Fourth Circuit have consistently held that common law claims

stemming from employee benefit claims are preempted by ERISA.” 9

          9.    Here, Plaintiff has asserted state law claims arising out of Defendants’

denial of Plaintiff’s claims for payment of plan benefits. Plaintiff states, inter alia, that it

operates a critical access hospital that offers inpatient, outpatient and outreach laboratory


   6
       Lawrence v. Randolph Hosp., Inc., No. 1:17CV363, 2018 WL 1478039, at *2
(M.D.N.C. Mar. 26, 2018) (slip copy) (quoting Prince, 848 F.3d at 177).
   7
         See Bobby P. Kearney, MD, PLLC v. Blue Cross & Blue Shield of N.C., 233 F. Supp. 3d
496, 503 (M.D.N.C. 2017) (collecting cases); see also Exact Scis. Corp. v. Blue Cross & Blue
Shield of N.C., No. 1:16CV125, 2017 WL 1155807, at *5 (M.D.N.C. Mar. 27, 2017) (same).
   8
           Kearney, 233 F. Supp. at 504 (citing Marks v. Watters, 322 F.3d 316, 323 (4th Cir.
2003)).
   9
         Lawrence, 2018 WL 1478039 at *3 (citing Pilot Life Ins. Co. v. Dedeaux, 481 U.S. 41
(1987)) (finding state common law breach of contract, fraud, and bad faith claims preempted)
and Powell v. Chesapeake & Potomac Tel. Co., 780 F.2d 419, 422 (4th Cir. 1985)) (finding state
law claims based on the maladministration of employee benefits preempted by ERISA).


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services, and that Aetna denied payment for services that Plaintiff rendered to Aetna

members. See Exhibit 1, Complaint at ¶¶ 7, 13, 14, 17, 20. In fact, many of those

“members” were participants or beneficiaries of employee welfare benefit plans,

including self-funded plans, governed by ERISA. Defendants either insure or provide

third-party claims administrative services to the ERISA plans, including administering

claims for benefits available under the terms of the plans. Plaintiff’s claims—which seek

the recovery of benefits under ERISA plans and challenge Defendants’ administration of

the plans—clearly fall within the scope of § 502(a). 10

        10.    Moreover, this is not a “rate of payment” dispute over the amount or level

of payment under a provider agreement. 11 Rather, this dispute concerns the “right to

payment.” Plaintiff is challenging the denial of coverage for ERISA-governed medical

claims, and the payments that Plaintiff seeks to recover from Defendants are payable, if at

all, under the terms of the underlying ERISA plans.

        11.    Finally, Plaintiff’s claims are not capable of resolution without interpreting

the ERISA plans. Plaintiff has artfully pled its state law claims in an attempt to avoid

ERISA preemption. But, as the Fourth Circuit has held, “Defendants may remove

preempted state law claims to federal court, regardless of the ‘label’ that the plaintiff has

   10
          See Kearney, 233 F. Supp. 3d at 505 (holding healthcare provider’s breach of contract
claim fell squarely within § 502(a) where it challenged the denial of payment for services it
rendered to participants under ERISA health care plans issued by the defendant); see also Prince,
848 F.3d at 178 (finding a claim that attacked actions surrounding the denial of benefits was one
that challenged the administration of the ERISA plan—i.e., “a core § 502(a) claim”).
   11
         See Kearney, 233 F. Supp. 3d at 504 (citing Lone Star OB/GYN Assocs. v. Aetna Health
Inc., 579 F.3d 525, 530-32 (5th Cir. 2009)); see also Borrero v. United Healthcare of N.Y., Inc.,
610 F.3d 1296, 1304 (11th Cir. 2010).


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used.” 12 In the Complaint, Plaintiff alleges breach of contract based on Defendants’

“refusal to process claims and reimburse LifeBrite for services rendered to its members.”

Exhibit 1, Complaint at ¶ 17. Plaintiff also alleges unjust enrichment based on its alleged

“provision of services to Members”—i.e., members of the ERISA plans—which it

contends “conferred a valuable benefit to the Defendants.” Id. at ¶ 20. In reality,

regardless of the “label” used, Plaintiff’s entitlement to payment depends on whether the

Plaintiff rendered services to Defendants’ members that were covered under the terms of

the ERISA plans.

        12.    In sum, Plaintiff has asserted state law claims that are completely

preempted by ERISA’s civil enforcement scheme, codified at 29 U.S.C. § 1132(a). This

Court has original jurisdiction over such claims pursuant to 28 U.S.C. §1331 and 29

U.S.C. §1132(e), and the matter is one that may be removed pursuant to 28 U.S.C.

§1441(a) and controlling case law. 13

        13.    Alternatively, if any of Plaintiff’s state law claims are found not to be

completely preempted, all of the claims in this case are part of the same case or

controversy, and this Court has supplemental jurisdiction over those state law claims, if

any. 28 U.S.C. § 1367(a).




   12
         Prince, 848 F.3d at 177 (citations omitted).
   13
         See Davila, 542 U.S. at 207, 209-11; Pilot Life Ins. Co., 481 U.S. at 56-57; Metro. Life
Ins. Co. v. Taylor, 481 U.S. 58, 62-63 (1987); Prince, 848 F.3d at 176-79.


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       14.    This Notice of Removal of Civil Action is timely pursuant to 28 U.S.C.

§ 1446(b) because the State Court Action is being removed within thirty (30) days after

Defendants were served with or otherwise received a copy of the Complaint.

       15.    Promptly after filing this Notice of Removal, Defendants will provide

written notice of removal to Plaintiff and will file a copy of this Notice of Removal with

the Stokes County Clerk of Superior Court. A true and correct copy of the notice being

filed is attached hereto as Exhibit 3.

       WHEREFORE, PREMISES CONSIDERED, Defendants pray that the State Court

Action be removed to the United States District Court for the Middle District of North

Carolina.

       Dated: April 25, 2018

                                         Respectfully submitted,

                                         HUNTON ANDREWS KURTH LLP

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                                         Aetna Health Of The Carolinas, Inc.




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                             CERTIFICATE OF SERVICE

       I hereby certify that on April 25, 2018, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system for the United States District Court, Middle

District of North Carolina, and that a true and correct copy of this document was also

mailed and e-mailed to Plaintiff’s attorney of record as follows:

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